Case 18-66766-jwc        Doc 59     Filed 12/05/18 Entered 12/05/18 16:47:29            Desc Main
                                    Document      Page 1 of 2


                           IN THE UNITED STATES BANKRUPTCY
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                           |
                                                  |
 Beautiful Brows LLC,                             |           Case No. 18-66766-JWC
                                                  |
                               Debtor(s).         |           Chapter 11
                                                  |


               ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

       COMES NOW The Patel Law Group, LLC, through the undersigned Rushi D. Patel, and

enters this case as attorney of record for Minal Hitesh Patel, a creditor in the above-referenced

case, and directs Debtor’s Counsel, the U.S. Trustee, and the Clerk of Court to forward all

notices, pleadings, documents, calendars, and other documents regarding the above-styled action

to counsel at the address indicated herein below, or as otherwise prescribed via ECF.


               Rushi D. Patel, 1995 N. Park Pl., SE, Ste 565, Atlanta, GA 30339

       The Clerk of the Court is requested to place the undersigned counsel on the master

mailing matrix in this case.

       This Notice of Appearance is being filed in accordance with Bankruptcy Rule 9010.



Respectfully submitted this Wednesday, December 5, 2018.



                                                      ________________________ /S/
                                                      Rushi Patel, Attorney for Debtor
                                                      GA Bar No. 791855
                                                      The Patel Law Group, LLC
                                                      1995 N. Park Pl., SE, Suite 565
                                                      Atlanta, GA 30339
                                                      (404) 490-2998
                                                      rdp@patel-legal.com
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                                                  |


                                 CERTIFICATE OF SERVICE
       I hereby certify, under penalty of perjury, that I am more than 18 years of age and, that on
this day, I served a copy of the within ENTRY OF APPEARANCE AND REQUEST FOR
NOTICES upon the following by depositing a copy of same in U.S. Main with sufficient postage
affixed thereon, unless otherwise noted, to ensure delivery to:

By Electronic Notice via ECF:

Thomas Wayne Dworschak, Office of the United States Trustee

Jason L. Pettie, Jason L. Pettie, PC

S. Gregory Hays, Trustee

Regular Mail:

Office of the U. S. Trustee
75 Ted Turner Drive, SW
Room 362
Atlanta, GA 30350


This 5 December 2018.
                                                      ________________________ /S/
                                                      Rushi Patel, Attorney for Debtor
                                                      GA Bar No. 791855
                                                      The Patel Law Group, LLC
                                                      1995 N. Park Pl., SE, Suite 565
                                                      Atlanta, GA 30339
                                                      (404) 490-2998
                                                      rdp@patel-legal.com
